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 1                          UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
 2
     - - - - - - - - - - - - - - - X
 3
     UNITED STATES OF AMERICA
 4                                      :
                      Plaintiff               10-CV-1866 (BMC)
 5
          -against-                     :     U.S. Courthouse
 6                                            Brooklyn, N.Y.
     SIXTY-ONE THOUSAND NINE
 7   HUNDRED DOLLARS AND NO CENTS :
     (61,900.00) SEIZED FROM
 8   ACCOUNT NUMBER XXXXXX4429
     HELD IN NAME OF PRP RESTAURANT
 9   INC., AT TD BANK, N.A. ET AL.

10                    Defendants        :
                                              January 18, 2011
11   - - - - - - - - - - - - - - - X          4:30 p.m.

12   BEFORE:

13              HONORABLE BRIAN M. COGAN
                United States District Judge
14

15
     APPEARANCES:
16
     For the Plaintiff:            LORETTA E. LYNCH
17                                 U.S. Attorney
                                   271 Cadman Plaza East
18                                 Brooklyn, New York 11201
                                   BY: BRIAN D. MORRIS
19

20   For the Claimant:             O'SHEA PARTNERS LLP
     Robert Potenza                521 Fifth Avenue
21                                 25th Floor
                                   New York, New York 10175
22                                 BY: ANDREW J. SOCKOL

23
     For Material Witness:         MURRAY E. SINGER
24   Joseph Johnson                20 Vanderventer Avenue
                                   Suite 106 E
25                                 Port Washington, New York 11050



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 1   Court Reporter:               RONALD E. TOLKIN, RMR, CRR
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 2                                 Brooklyn, New York 11201
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 3

 4
     Proceedings recorded by mechanical stenography, transcript
 5   produced by Computer-Assisted Transcript.

 6                           ***

 7

 8              THE CLERK:    United States versus $61,900.        Docket

 9   number 10-CV-1866.

10              Counsel, please state your appearance, Plaintiff?

11              MR. MORRIS:    For the United States, Brian Morris.

12              Good afternoon, Your Honor.

13              THE COURT:    Good afternoon.

14              MR, MORRIS:    With me today I also have Richard

15   Guerci, a financial investigator for the IRS.

16              MR. SOCKOL:    For the claimant, Robert Potenza,

17   Andrew Sockol.

18              Good afternoon, Your Honor.

19              THE COURT:    Good afternoon.

20              MR. SINGER:    Murray E. Singer, CJA attorney for

21   Joseph Johnson.

22              THE COURT:    Mr. Singer, although I called you in

23   here, this is not really about you.          The real question is

24   whether I should impose a sanction on the claimant's attorney

25   for not having disclosed at the beginning Mr. Singer's client



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 1   as person of knowledge.

 2                Why was that not done?

 3                MR. SOCKOL:    Your Honor, I was not purposely hiding

 4   anything from this Court or the government.         When I asked my

 5   client about anybody with knowledge of the cash at PRP

 6   Restaurant, they didn't think that it was germane to list

 7   general managers or cashiers that might handle cash as it

 8   comes in on a day-to-day basis.

 9                They thought this was more about deposited to the

10   bank accounts.     I questioned counting cash and keeping the

11   books of PRP Restaurant d/b/a Gallaghers.         It was an

12   oversight.

13                THE COURT:    Did it occur to you that there might be

14   an issue as to the amount of cash the business took in, and

15   maybe not the cashier but the general manager wouldn't have

16   knowledge of that?

17                MR. SOCKOL:    Well, it was my understanding that all

18   of the cash was just left for the principals of PRP

19   Restaurant.     They prepared the books and records of PRP.        And

20   they also are the only people, specifically, Robert Potenza,

21   who ever made deposits into a bank account.

22                THE COURT:    Right, but there is an underlying

23   question in this case about the integrity of those records,

24   right?   That's what this is about, was there any cash that was

25   not reported.    So the person who would have knowledge of that,



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 1   it seems to me, is a pretty obvious witness for the

 2   government.

 3              Now, look, I take what you told me, that you didn't

 4   intentionally mislead anybody, but I don't think you did as

 5   much investigation as you might have.           Obviously your clients

 6   are going to identify the witnesses that they want deposed.

 7   They're going to identify the people who they think will back

 8   them up.

 9              It's your job to make sure that the plaintiff's --

10   or the claimant's discovery obligations are fulfilled.           So

11   you've got to dig a little deeper.           So I am telling you for

12   future reference, don't let this happen again.

13              All right?

14              MR. SOCKOL:    Yes, Your Honor.

15              THE COURT:    Now, Mr. Singer, when can we have your

16   client's deposition taken?

17              MR. SINGER:    Judge, I know that the claimant wants

18   the subpoena for documents, of return those documents returned

19   before the deposition.      I do intend to put in a request to

20   quash them.    In our view, this is simply a fishing expedition,

21   but it's not in any way -- my client's personal financial

22   records are not in any way related to this.

23              So I intended -- at this point, I intend to put that

24   in.   At the time of my letter, I had not yet met with my

25   client, with Mr. Johnson.      But having met with him and having



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 1   been briefed a bit on what this case is about, I do intend to

 2   put that in.    So I don't know if that will delay things.

 3              THE COURT:    Well, no, because we're going to deal

 4   with it right now.     It will not delay anything.

 5              Let me hear the government's rationale for getting

 6   the personal records of Mr. Johnson.

 7              MR. SINGER:    Actually, it's the claimant's request.

 8   It's their subpoena, not the government's.

 9              THE COURT:    That's even harder for me to understand.

10   Explain to me how that will help you out.

11              MR. SOCKOL:    Your Honor, the government's contention

12   appears to be that some documents produced to the government

13   by Mr. Johnson that he kept, allegedly in his duties as

14   general manager, reports income that does not match up to the

15   income officially recorded by PRP.

16              THE COURT:    I'm sorry, he kept income?

17              MR. SOCKOL:    No.   He kept a tally of income.

18              THE COURT:    To the business?

19              MR. SOCKOL:    To the business, that doesn't match up

20   with the official accounting records and tax records of PRP.

21   That's my understanding of the government's position.

22              Our position is, first of all, that these records

23   are authenticated only by Mr. Johnson himself.          Also, if there

24   was income kept -- if there was income coming into the

25   business that was not recorded on PRP's records, it's just --



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 1   the theory is that Mr. Johnson could have as easily embezzled

 2   money just as easily as PRP could have.         So I think it goes to

 3   motive on behalf of PRP and motive on Mr. Johnson's behalf.

 4              THE COURT:    Does the government have any comment on

 5   that?

 6              MR. MORRIS:    Well, just to put the pending motion

 7   now before Your Honor in perspective:        In connection with the

 8   government's investigation, the government has, through

 9   Mr. Johnson, uncovered the proverbial second set of records.

10              Those records simply reflect several thousand

11   dollars a day of cash received over approximately a 30-day

12   period between the summer of 2009 and the end of 2009,

13   certainly providing a strong motive for the underlying

14   structuring allegation.

15              However, the motive is actually twofold, Your Honor.

16   One is the income tax evasion of unreported income.          And the

17   second, of course, is a payroll tax evasion scheme.          Because

18   as the government has learned from Mr. Johnson, during his

19   approximately ten-year tenure with the business beginning in

20   2000 and concluding in April of 2010, it was the company's

21   long standing practice to pay employees in cash and off the

22   books; half on the books and half off the books.

23              THE COURT:    Okay.   So is it the claimant's view that

24   if there was any extra money, the claimant didn't know about

25   it either and, therefore, Mr. Johnson must have stolen it, and



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 1   they want to see his personal records to see if they can test

 2   that?

 3              MR. SOCKOL:    The claimant's view is that they are

 4   unaware of any money coming into the business that was not

 5   accurately recorded, both coming into the business through

 6   their tax returns or going out of the business through

 7   payroll.

 8              Mr. Johnson told the government, and we have seen no

 9   evidence to support Mr. Johnson's contention, that payroll

10   went out off the books.      We've also seen no evidence of

11   Mr. Johnson's contention that more money came into the

12   business than was reported to the IRS, other than these

13   documents that Mr. Johnson produced to the government and

14   they're not kept in PRP's books and records.

15              THE COURT:    I understand, but I'm trying to tie that

16   to the personal records you're asking from Mr. Johnson.           I'm

17   not seeing the connection there, other than you're effectively

18   saying that if there was extra money then he must have stolen

19   it.   And then what?    It would show up where?

20              MR. SOCKOL:    Well, we have reason to believe that

21   Mr. Johnson, at the same -- it goes to the credibility, Your

22   Honor.   We have reason to believe that Mr. Johnson, at the

23   same time as being employed by another club, was either

24   collecting unemployment and/or not recording income earned at

25   the other club fund that he was employed at post PRP.



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 1   Therefore, his tax returns are certainly germane to his intent

 2   here.

 3              We also have record of a $21,000 loan that was given

 4   to Mr. Johnson to pay off his home mortgage which he claimed

 5   to our clients that he didn't have the money to pay.           This

 6   $21,000 loan was made to Mr. Johnson, which he did not repay

 7   in full.   We also have reason to believe that our client's

 8   failure to forgive this loan in its entirety is part of

 9   Mr. Johnson's motive here in trying to drive this action.

10              THE COURT:    That's all fine, I don't mind you

11   attacking his credibility in any legitimate way.          But getting

12   someone's tax returns are clearly an invasive way of attacking

13   credibility.    And generally speaking, you need to show a clear

14   connection and a reasonable expectation that something in

15   those tax returns will back up the credibility challenge.

16              It seems to me that if you're talking about somebody

17   stealing money, the odds of them declaring the money they've

18   stolen is beyond speculation.       If you can give me a better

19   rationale for why the tax returns would get you where you want

20   to go, other than, obviously you cross examine any witness on

21   the stand, you'd like to see their tax return because you

22   never know what you're going to find in there, right.

23              But if you can't show me some kind of relationship

24   here, some reason to believe there's something in the tax

25   returns themselves that will help you that goes beyond mere



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 1   speculation, I'll not delay this case so that we can fight

 2   over documents and get you documents that are, at best,

 3   speculative.

 4               What I will do is, you want to ask him questions for

 5   which you think you have a good faith basis, during his

 6   deposition, ask the questions.        If he tells you he was

 7   skimming, we'll talk about documents again.

 8               If he says absolutely not.        And you ask him

 9   questions like, where'd you get the money to pay off the

10   $20,000, and he says my wife's income, for example, you know,

11   I'm not going to see grounds for producing the tax returns.

12               So I will quash the subpoena to that extent at this

13   point.

14               Now, Mr. Singer, when can your client be deposed?

15               MR. SINGER:    Well, I'm not done with the document

16   subpoena.

17               THE COURT:    There's more?

18               MR. SINGER:    Well, they requested all bank accounts

19   that my client owns or has any interest in.

20               THE COURT:    Okay.   That's quashed.    And it's quashed

21   and it's getting real close to Rule 11.

22               MR. SINGER:    They requested the personal tax returns

23   of 2005 to the present, which you ruled on that.

24               They requested all sources of income from 2005 to

25   the present including unemployment income.         I assume that's



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 1   quashed with the tax returns?

 2               THE COURT:    Yes, it is.

 3               MR. SINGER:    They requested documents reflecting all

 4   credit or debts of any kind 2005 to the present.

 5               THE COURT:    That is quashed.

 6               Is there anything else in that subpoena?

 7               MR. SINGER:    No, Your Honor.

 8               MR. SOCKOL:    Your Honor, I respectfully disagree

 9   with Mr. Singer's characterization.           We understand that the

10   financial information is quashed, but the subpoena starts off,

11   and at least 50 percent of what we ask for are all documents

12   and communications to/from or regarding PRP Restaurant,

13   Gallagher's, Gallagher's 2000, which are the three

14   reiterations of the club that existed while Mr. Johnson was

15   employed, communications with Robert Potenza, Patricia Potenza

16   or Alan Riale.     That's the first two items of the subpoena for

17   four lines total.

18               You quashed the second two lines, which we

19   understand and respect.       The first two lines, communications

20   with the three principals of PRP, we feel are certainly

21   germane to this action.

22               MR. SINGER:    Any documents or communications.        I'm

23   not sure if there were oral communications.

24               THE COURT:    Well, if they're oral, you have no

25   documents to produce.



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 1               MR. SINGER:    If the letters are e-mails that my

 2   client has with regard to communications -- again, this is

 3   very broad.    It's pertaining to any topic and any subject

 4   matter.

 5               THE COURT:    Well, yeah, but it's only between him

 6   and the claimant.

 7               MR. SINGER:    Yes.

 8               THE COURT:    Not between him and the world.

 9               MR. SINGER:    Simply between him and the claimant.

10               THE COURT:    I think they're entitled to use that to

11   see if there's any indication what might or might not be

12   credible.    So you can produce those.

13               MR. SINGER:    Okay.

14               THE COURT:    Was anything else in the subpoena we

15   haven't covered?

16               MR. SINGER:    No, Your Honor.

17               THE COURT:    Now, Mr. Singer, when can you have those

18   documents to the claimant and proceed with the deposition?

19               MR. SINGER:    I do not know if there are any such

20   documents, but I will have an answer to that within the next

21   couple of days.     And we will -- can we just talk off the

22   record for a moment here to try to work out a date?

23               THE COURT:    Sure.    But as you talk off the record,

24   please make it a prompt date.

25               MR. SINGER:    Yes, Your Honor.



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 1               (Off the record discussion.)

 2               MR. SINGER:    Judge, I believe the deposition, if

 3   it's agreeable to the Court, will be February 2nd.

 4               THE COURT:    That's good.

 5               Now, in addition to the Mr. Johnson problem, the

 6   rest of the discovery has been completed?

 7               MR. MORRIS:    Your Honor, we have completed all fact

 8   depositions in the case with the exception, of course, of

 9   Mr. Johnson's deposition.

10               With respect to documents, there's one additional

11   small production the government is still waiting for.           That

12   will be produced this week.

13               MR. SOCKOL:    They asked for PRP's insurance

14   policies, which has gone through the process and it will be in

15   the government's hands this week.

16               THE COURT:    Anything else?

17               MR. MORRIS:    I guess the remaining housekeeping

18   matter, Your Honor, will be expert discovery.          The parties

19   have conferred about potential deadlines for expert discovery.

20   The Court previously set an expert discovery deadline of the

21   end of this month.

22               In light of Mr. Johnson's deposition taking place,

23   the parties respectfully request with respect to all experts

24   except one, a period of 30 days from Mr. Johnson's deposition

25   to complete production of expert reports as well as rebuttal



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 1   reports.

 2                THE COURT:    You're going to have a mutual exchange

 3   of reports 30 days after Johnson's deposition?

 4                MR. SOCKOL:    Yes.

 5                THE COURT:    That's fine.

 6                MR. MORRIS:    There's just one additional expert

 7   report, and this actually relates to a handwriting exemplar

 8   that was taken just last week, Your Honor.         The IRS

 9   laboratory, I've been advised by Mr. Guerci, is actually

10   packed up and moving locations.

11                So that 30-day period, while sufficient for another

12   expert report is insufficient for the IRS to be able to

13   produce its expert report.         So the government would

14   respectfully request an additional 30 days simply on that --

15                THE COURT:    That's really long.    That's really long.

16   Is there really an issue about whether the signature is

17   authentic?

18                MR. MORRIS:    In this particular case, the government

19   understands that these documents, the proverbial second set of

20   records were really -- for instance, with respect to the

21   claimant, the claimant is claiming in his deposition that he

22   had never seen the document in its completed form at any time

23   prior to meeting with his attorney a day or two before the

24   deposition.

25                However, the government has information that not



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 1   only has Mr. Johnson actually -- excuse me, not only has

 2   Claimant seen the record, but Claimant's handwriting would be

 3   part and parcel for some of the information filled in on the

 4   record.   The claimant disputes that.

 5               So in addition to the fact witness that the

 6   government has, Mr. Johnson has testified that it's his boss'

 7   handwriting, the government wishes to proffer an expert

 8   witness to corroborate Mr. Johnson's testimony with respect to

 9   the existence of the claimant's handwriting on the proverbial

10   second set of books.

11               THE COURT:    This is a bench trial?

12               MR. SOCKOL:    It was noticed for a jury trial, Your

13   Honor?

14               THE COURT:    Is there a jury trial ready in a

15   forfeiture case?

16               MR. MORRIS:    I believe if requested, sir.

17               THE COURT:    Does the government have to use the IRS

18   laboratory for its handwriting expert?         It can't go out and

19   retain a private handwriting expert?

20               MR. MORRIS:    Well, I think the government could

21   potentially look to an outside expert.         However, there is an

22   existing process, at least with respect to the Internal

23   Revenue Services where there is an in-house laboratory that

24   handles these matters at no cost to the taxpayer.

25               So the government's first choice would be to use its



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 1   laboratory in-house, if that would meet with Your Honor's

 2   scheduling of the case.

 3               THE COURT:    It is longer than I want, but I can see

 4   the reason why you want to use an in-house expert.

 5               March 31st.

 6               MR. MORRIS:    Thank you, Your Honor.

 7               MR. SINGER:    Thank you, Your Honor.

 8               THE COURT:    Plan on trying the case in -- well, let

 9   me ask this:    Is either side contemplating a summary judgment

10   motion?

11               MR. MORRIS:    Not from the government.

12               THE COURT:    It sounds like there's a lot of disputed

13   facts.

14               MR. MORRIS:    Indeed, Your Honor.

15               THE COURT:    All right.    Well, then plan on trying

16   the case in early April.       I'm not going to give you a trial

17   date yet.    I will give you a possible trial date of April

18   11th, possible.

19               MR. SOCKOL:    Just to clarify one issue, Your Honor.

20               THE COURT:    Yes.

21               MR. SOCKOL:    Your Honor said we have 30 days after

22   the deposition of Mr. Johnson to exchange expert reports.            Do

23   we have 14 days after that was initially scheduled for the

24   rebuttal reports?

25               THE COURT:    That's why I asked you if you were going



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 1   to do everything at the same time.            You don't have to do

 2   rebuttal reports, all right.        You can work it out between you

 3   however you want.     If you want 14 days to do rebuttal reports,

 4   that's fine.    You can do that on the 16th.

 5               The experts you have are unrelated to the delayed

 6   IRS handwriting expert, right?

 7               MR. MORRIS:    Yes.

 8               MR. SOCKOL:    Yes.

 9               THE COURT:    So you can do the initial expert reports

10   by the 2nd of March.      You can do rebuttal reports by the 16th.

11               And then are you all interested in taking the

12   expert's depositions?

13               MR. SOCKOL:    Yes, Your Honor.

14               THE COURT:    Okay.   Do that by the end of March,

15   March 31st.    On that day you'll have the IRS report and you

16   will take that deposition the following week.

17               Okay?

18               MR. SOCKOL:    Thank you, Your Honor.

19               THE COURT:    Anything else we need to talk about?

20               MR. SINGER:    One other thing I need to clarify.

21               THE COURT:    Sure.

22               MR. SINGER:    With regard to the documents that

23   Mr. Johnson is to provide the claimant, there is no time frame

24   around this subpoena.      Can we have some narrowing of the time

25   frame?



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 1               THE COURT:    How far back does the alleged second set

 2   of books and records go?

 3               MR. MORRIS:    As far as the government has in its

 4   possession, the earliest date occurs in August of 2009.

 5   However, it's the government's understanding based on

 6   information received from Mr. Johnson is that the records were

 7   really kept for a period of years prior to that.          These were

 8   simply the only records or copies of which Mr. Johnson chose

 9   to obtain personally as opposed to turning into the principal

10   of PRP for use in the business.

11               THE COURT:    I think 2005, January, forward.

12               MR. SINGER:    All right.     Thank you, Your Honor.

13               THE COURT:    Let me say one more thing to you,

14   Mr. Sockol.    Obviously I have no view in this case whether or

15   not the government's theory is right or wrong.          I'm not

16   finding any facts here.       I don't know how the case is going to

17   turn out at trial, particularly since it's a jury trial.

18               But based on your client's lack of appreciation that

19   Mr. Johnson would be a necessary and important witness in this

20   case, I feel that I'm compelled to point out that you need to

21   have a long talk with your clients.

22               Because sometimes it happens in these cases that

23   clients have an unrealistic expectation about their ability to

24   prosecute a claim in an in rem case, and they think they can

25   do it with a fair amount of insulation and get their story out



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 1   and it will stop there.       They don't understand that sometimes

 2   by throwing their hat in the ring, things can go very south

 3   for them in ways they did not even anticipate.

 4               Like I said, I have no feeling at all as to whether

 5   that's what's happening here.        But I have seen it happen

 6   enough before where the failure to identify the general

 7   manager suggests to me is a conversation you may want to have

 8   with your client.

 9               MR. SOCKOL:    Yes, Your Honor.

10               THE COURT:    All right.    Thank you all.

11               (Matter concluded.)

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                        RONALD E. TOLKIN, RMR, CRR
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